 Fill in this information to identify your case:

 Debtor 1
                     John August Zarro
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Arizona    District of __________
                                                                                                (State)
 Case number           2:19-bk-00089-DPC
                     ___________________________________________                                                                                                          Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 0.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 13,237.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 13,237.00
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 16,721.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 1,400.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      + $ 17,751.06
                                                                                                                                                                          ________________


                                                                                                                                     Your total liabilities               $ 35,872.06
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 2,824.94
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 2,690.00
                                                                                                                                                                            ________________




            Case 2:19-bk-00089-DPC
Official Form 106Sum
                                       Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00
                               Summary of Your Assets and Liabilities and Certain Statistical Information
                                                                                                                                                                              Desc
                                                                                                                                                                              page 1 of 2
                                       Main Document               Page 1 of 50
                  John August Zarro                                                                                      2:19-bk-00089-DPC
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        5,494.46
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                       $_____________________


                                                                                                                      1,400.00
                                                                                                           $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                           $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                           $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                           $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                         0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                                  1,400.00
                                                                                                           $_____________________




            Case 2:19-bk-00089-DPC
    Official Form 106Sum
                                       Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00
                               Summary of Your Assets and Liabilities and Certain Statistical Information
                                                                                                                                             Desc
                                                                                                                                             page 2 of 2
                                       Main Document               Page 2 of 50
Fill in this information to identify your case and this filing:


Debtor 1
                   John August Zarro
                  __________________________________________________________________
                    First Name               Middle Name               Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name


                                        ______________________
United States Bankruptcy Court for the: District of Arizona    District of __________
                                                                                   (State)
Case number           2:19-bk-00089-DPC
                    ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Sche dule A/B: Prope r t y                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Pa rt 1 :      De sc ribe Ea c h Re side nc e , Building, La nd, or Othe r Re a l Est a t e You Ow n or H a ve a n I nt e re st I n
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    
    ✔ No. Go to Part 2.

     Yes. Where is the property?                                What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                  Single-family home                              the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property:
      1.1. _________________________________________
           Street address, if available, or other description
                                                                  Duplex or multi-unit building
                                                                  Condominium or cooperative                      Current value of the Current value of the
                                                                  Manufactured or mobile home                     entire property?     portion you own?
             _________________________________________
                                                                  Land                                            $________________ $_________________
                                                                  Investment property                             Describe the nature of your ownership
             _________________________________________
             City                    State   ZIP Code
                                                                  Timeshare                                       interest (such as fee simple, tenancy by
                                                                  Other __________________________________        the entireties, or a life estate), if known.

                                                                 Who has an interest in the property? Check one.   __________________________________________

                                                                  Debtor 1 only                                    Check if this is community property
             _________________________________________
             County                                               Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




    If you own or have more than one, list here:                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                 Single-family home                               the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                 Duplex or multi-unit building
                                                                 Condominium or cooperative                       Current value of the     Current value of the
                                                                 Manufactured or mobile home                      entire property?         portion you own?
             ________________________________________
                                                                 Land                                             $________________        $_________________
                                                                 Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                 Timeshare                                        Describe the nature of your ownership
                                                                 Other __________________________________         interest (such as fee simple, tenancy by
                                                                                                                   the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                 Debtor 1 only
             ________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                 At least one of the debtors and another             (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number:


             Case 2:19-bk-00089-DPC                        Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                    Desc
                                                           Main Document    Page 3 of 50
                                                                                                                                                 page 1 of ___
                                                                                                                                                            10
1.____                                                           What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

            ________________________________________
                                                                  Single-family home                                     the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
            Street address, if available, or other description    Duplex or multi-unit building
                                                                  Condominium or cooperative                             Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
            ________________________________________              Manufactured or mobile home
                                                                  Land                                                   $________________         $_________________

            ________________________________________
                                                                  Investment property
            City                    State   ZIP Code              Timeshare                                              Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                  Other __________________________________               the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
            ________________________________________              Debtor 1 only
            County
                                                                  Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                                                                              (see instructions)
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  0.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 


Pa rt 2 :    De sc ribe Y our V e hic le s


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
   
   ✔ Yes



    3.1.
                   Chevrolet
            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                    Equinox
            Model: ____________________________                  
                                                                 ✔ Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                        2013                      Debtor 2 only
            Year:                      ____________
                                                                  Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                  118000                                                                                  entire property?          portion you own?
            Approximate mileage: ____________                     At least one of the debtors and another
         Other information:
                                                                                                                           9,800.00                  9,800.00
   Condition: Good                                                Check if this is community property (see               $________________         $________________
                                                                    instructions)



   If you own or have more than one, describe here:
            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
    3.2.

            Model: ____________________________                   Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                  Debtor 2 only
            Year:                     ____________                                                                        Current value of the      Current value of the
                                                                  Debtor 1 and Debtor 2 only                             entire property?          portion you own?
            Approximate mileage: ____________                     At least one of the debtors and another
            Other information:
                                                                  Check if this is community property (see               $________________         $________________
                                                                    instructions)




            Case 2:19-bk-00089-DPC                           Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                         Desc
                                                                                                                                                                   10
                                                                                                                                                              2 of __
                                                                                                                                                         page ___
                                                             Main Document    Page 4 of 50
                       ____________________________                           Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
  ____.    Make:
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




                                                                              Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
 ____      Make: ____________________________
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   ✔ No

    Yes

                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________
                                                                              Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
            Other information:                                                At least one of the debtors and another                                  entire property?                 portion you own?

                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:
                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________                                                                                                                    Current value of the             Current value of the
                                                                              Debtor 1 and Debtor 2 only                                               entire property?                 portion you own?
            Other information:                                                At least one of the debtors and another
                                                                                                                                                        $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      9,800.00
                                                                                                                                                                                        $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................




            Case 2:19-bk-00089-DPC                                     Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                                                    Desc   3      10
                                                                                                                                                                                            page ___ of __
                                                                       Main Document    Page 5 of 50
Pa rt 3 :      De sc ribe Y our Pe rsona l a nd H ouse hold It e m s

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
   Examples: Major appliances, furniture, linens, china, kitchenware
                             Household Goods
    No
   
   ✔ Yes. Describe. ........


                                                                                                                                                                                                      500.00
                                                                                                                                                                                                    $___________________

7. Electronics

   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
    No                     Electronics
   
   ✔ Yes. Describe. ........                                                                                                                                                                          800.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                         0.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                         0.00
                                                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                        0.00
                                                                                                                                                                                                    $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No                   Clothing
   
   ✔ Yes. Describe. .........                                                                                                                                                                         250.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                         0.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

    No                       Pets
   
   ✔ Yes. Describe. .........                                                                                                                                                                         25.00
                                                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   ✔ No

    Yes. Give specific                                                                                                                                                                               0.00
                                                                                                                                                                                                    $___________________
        information...............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        1,575.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 


             Case 2:19-bk-00089-DPC                                            Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                                                            Desc   4      10
                                                                                                                                                                                                            page ___ of __
                                                                               Main Document    Page 6 of 50
Pa rt 4 :       De sc ribe Y our Fina nc ia l Asse t s

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                      Current value of the
                                                                                                                                                                                                                 portion you own?
                                                                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                                 or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   
   ✔ No

    Yes .....................................................................................................................................................................   Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
    No
   
   ✔ Yes .....................
                                                  Institution name:


   17.1. Checking account:
                                                   Wells Fargo Checking                                                                262.00
                                                  ___________________________________________________________________________________ $__________________

   17.2. Checking account:                        ___________________________________________________________________________________ $__________________

   17.3. Savings account:                         ___________________________________________________________________________________ $__________________

   17.4. Savings account:                         ___________________________________________________________________________________ $__________________

   17.5. Certificates of deposit: ___________________________________________________________________________________                                                                                             $__________________
   17.6. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                  $__________________
   17.7. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                  $__________________
   17.8. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                  $__________________
   17.9. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                  $__________________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   
   ✔ No

    Yes ..................
   Institution or issuer name:
                                                                                                                                                                                                                  $__________________
   ___________________________________________________________________________________________________________________
                                                                                                                                                                                                                  $__________________
                                                                                                                                                                                                                  $__________________
   ___________________________________________________________________________________________________________________                                                                                            $__________________
                                                                                                                                                                                                                  $__________________
   ___________________________________________________________________________________________________________________                                                                                            $__________________



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
   
   ✔ No

    Yes. Give specific
         information about                                                                                                                                                                                        $__________________
         them. ........................
                                                                                                                                                                                                                  $__________________
  Name of entity:                                                                                                                                                                       % of ownership:
                                                                                                                                                                                                                  $__________________
                                                                                                                                                                                                                  $__________________
  _____________________________________________________________________________________________________                                                                                     ___________%
                                                                                                                                                                                                                  $__________________
  _____________________________________________________________________________________________________                                                                                     ___________%

  _____________________________________________________________________________________________________                                                                                     ___________%          $__________________


              Case 2:19-bk-00089-DPC                                                     Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                                                                Desc        10
                                                                                                                                                                                                                               5 of __
                                                                                                                                                                                                                          page ___
                                                                                         Main Document    Page 7 of 50
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    
    ✔ No

     Yes. Give specific
         information about
         them. ......................
    Issuer name:

    ___________________________________________________________________________________________________________________
                                                                                                                                      $__________________

    ___________________________________________________________________________________________________________________ $__________________

    ________________________________________________________________________________________________________________ $__________________

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
   
   ✔ Yes. List each

         account separately.             Institution name:
         Type of account:

 401(k) or similar plan:          401k through employer
                                  _________________________________________________________________________________________________
                                                                                                                                          500.00
                                                                                                                                      $__________________
                                                                                                                                      $__________________
 Pension plan:                    _________________________________________________________________________________________________ $__________________
                                                                                                                                    $__________________

 IRA:                             _________________________________________________________________________________________________ $__________________
                                                                                                                                    $__________________
 Retirement account:              _________________________________________________________________________________________________   $___________________
                                                                                                                                      $_________________
 Keogh:                           _________________________________________________________________________________________________ $__________________
                                                                                                                                    $__________________

 Additional account:              _________________________________________________________________________________________________ $__________________
                                                                                                                                    $__________________
 Additional account:              _________________________________________________________________________________________________ $__________________
                                                                                                                                    $__________________

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

     No
    
    ✔ Yes ...........................    Institution name or individual:

Electric:                 ____________________________________________________________________________________________________
                                                                                                                                      $___________________

Gas:                      ____________________________________________________________________________________________________        $___________________
                                                                                                                                      $___________________

Heating oil:              _________________________________________________________________________________________________           $___________________
                                                                                                                                      $___________________

Rental unit:              Security Deposit
                          ____________________________________________________________________________________________________        $___________________
                                                                                                                                        1,100.00
                                                                                                                                      $___________________

Prepaid rent:             _________________________________________________________________________________________________           $___________________
                                                                                                                                      $___________________

Telephone:                _________________________________________________________________________________________________           $___________________
                                                                                                                                      $___________________

Water:                    _________________________________________________________________________________________________           $___________________
                                                                                                                                      $___________________

Rented furniture:        ______________________________________________________________________________________________________ $___________________
                                                                                                                                $___________________

Other:                   ___________________________________________________________________________________________________ $___________________
                                                                                                                             $___________________

                                                                                                                                      $__________________
                                                                                                                                      _
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

    
    ✔ No

     Yes ...........................   Issuer name and description:
_____________________________________________________________________________________________________________________                 $__________________

_____________________________________________________________________________________________________________________                 $__________________
_____________________________________________________________________________________________________________________                 $__________________
                                                                                                                                      $__________________
                                                                                                                                      $__________________
             Case 2:19-bk-00089-DPC                               Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00    Desc 6
                                                                                                                $__________________ 10
                                                                  Main Document    Page 8 of 50                         page ___ of __
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   ✔ No

    Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

   ____________________________________________________________________________________________________________________                               $_________________
   ____________________________________________________________________________________________________________________                               $_________________
   ____________________________________________________________________________________________________________________                               $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ✔ No

    Yes. Give specific
        information about them. ..                                                                                                                     0.00
                                                                                                                                                      $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔ No

    Yes. Give specific
        information about them. ..                                                                                                                     0.00
                                                                                                                                                      $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   ✔ No

    Yes. Give specific
        information about them. ..                                                                                                                     0.00
                                                                                                                                                      $__________________


Money or property owed to you?                                                                                                                        Current value of the
                                                                                                                                                      portion you own?
                                                                                                                                                      Do not deduct secured
                                                                                                                                                      claims or exemptions.

28. Tax refunds owed to you

   
   ✔ No

    Yes. Give specific information                                                                                         Federal:               0.00
                                                                                                                                                  $_________________
                about them, including whether
                you already filed the returns                                                                               State:                 0.00
                                                                                                                                                  $_________________
                and the tax years. ......................                                                                                          0.00
                                                                                                                            Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   ✔ No

    Yes. Give specific information. .............
                                                                                                                           Alimony:                    0.00
                                                                                                                                                      $________________
                                                                                                                           Maintenance:                0.00
                                                                                                                                                      $________________
                                                                                                                           Support:                    0.00
                                                                                                                                                      $________________
                                                                                                                           Divorce settlement:         0.00
                                                                                                                                                      $________________
                                                                                                                           Property settlement:        0.00
                                                                                                                                                      $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
    No                                              Earned but unpaid wages owed to Debtor as of petition filing date
   
   ✔ Yes. Give specific information. ...............
                                                                                                                                                        Unknown
                                                                                                                                                      $______________________


            Case 2:19-bk-00089-DPC                                 Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                         Desc      7     10
                                                                   Main Document    Page 9 of 50                                                               page ___ of __
31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   ✔ No

    Yes. Name the insurance company                                  Company name:                                                              Beneficiary:                                        Surrender or refund value:
                of each policy and list its value. ...
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                               ___________________________                         $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   ✔ No

    Yes. Give specific information. .............
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   ✔ No

    Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   ✔ No

    Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   ✔ No

    Yes. Give specific information. ...........                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       1,862.00
                                                                                                                                                                                                     $_____________________




Pa rt 5 :        De sc ribe Any Busine ss-Re la t e d Prope rt y Y ou Ow n or H a ve a n I nt e re st I n. List a ny re a l e st a t e in Pa rt 1 .

37. Do you own or have any legal or equitable interest in any business-related property?

   
   ✔ No. Go to Part 6.

    Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

    No
    Yes. Describe .......
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

    No
    Yes. Describe .......                                                                                                                                                                         $_____________________


             Case 2:19-bk-00089-DPC                                          Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                                                              Desc           10
                                                                                                                                                                                                                    8 of __
                                                                                                                                                                                                               page ___
                                                                             Main Document   Page 10 of 50
40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

    No
    Yes. Describe .......                                                                                                                                                                         $_____________________


41. Inventory
    No
    Yes. Describe .......                                                                                                                                                                         $_____________________


42. Interests in partnerships or joint ventures

    No
    Yes. Describe ....... Name of entity:                                                                                                                            % of ownership:
                                        ______________________________________________________________________                                                        ________%                    $_____________________
                                        ______________________________________________________________________                                                        ________%                    $_____________________
                                        ______________________________________________________________________                                                        ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
    No
    Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
           No
           Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
    No
    Yes. Give specific                 ______________________________________________________________________________________                                                                     $____________________
        information .........
                                        ______________________________________________________________________________________                                                                      $____________________

                                        ______________________________________________________________________________________                                                                      $____________________

                                        ______________________________________________________________________________________                                                                      $____________________

                                        ______________________________________________________________________________________                                                                      $____________________

                                        ______________________________________________________________________________________                                                                      $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Pa rt 6 :        De sc ribe Any Fa rm - a nd Com m e rc ia l Fishing-Re la t e d Prope rt y You Ow n or H a ve a n I nt e re st In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   ✔ No. Go to Part 7.

    Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
    No
    Yes ...........................
                                                                                                                                                                                                     $___________________


             Case 2:19-bk-00089-DPC                                          Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                                                              Desc
                                                                                                                                                                                                                        10
                                                                                                                                                                                                                   9 of __
                                                                                                                                                                                                              page ___
                                                                             Main Document   Page 11 of 50
48. Crops—either growing or harvested

      No
      Yes. Give specific
           information. ............                                                                                                                                                                          $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
      No
      Yes ...........................
                                                                                                                                                                                                              $___________________

50. Farm and fishing supplies, chemicals, and feed

      No
      Yes ...........................
                                                                                                                                                                                                              $___________________

51. Any farm- and commercial fishing-related property you did not already list
      No
      Yes. Give specific
           information. ............                                                                                                                                                                          $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                 0.00
                                                                                                                                                                                                              $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Pa rt 7 :           De sc ribe All Prope rt y Y ou Ow n or H a ve a n I nt e re st in T ha t Y ou Did N ot List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     ✔ No

      Yes. Give specific
           information. ............




54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                0.00
                                                                                                                                                                                                               $________________




Pa rt 8 :           List t he T ot a ls of Ea c h Pa rt of t his Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                               0.00
                                                                                                                                                                                                              $________________

56. Part 2: Total vehicles, line 5                                                                                    9,800.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               1,575.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           1,862.00
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                               0.00
                                                                                                                + $________________
62. Total personal property. Add lines 56 through 61. ...................                                             13,237.00
                                                                                                                     $________________                                    13,237.00
                                                                                                                                       Copy personal property total  + $_________________



63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                      13,237.00
                                                                                                                                                                                                              $_________________


                Case 2:19-bk-00089-DPC                                            Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                                                                 Desc
                                                                                                                                                                                                                                 10
                                                                                                                                                                                                                           10 of __
                                                                                                                                                                                                                      page ___
                                                                                  Main Document   Page 12 of 50
 Fill in this information to identify your case:

                     John August Zarro
 Debtor 1          __________________________________________________________________
                     First Name              Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Arizona    District of __________
                                                                                    (State)
 Case number
  (If known)
                      2:19-bk-00089-DPC
                     ___________________________________________                                                                                  Check if this is an
                                                                                                                                                      amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                               4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the                    Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own                         exemption you claim

                                                            Copy the value from                     Check only one box
                                                            Schedule A/B                            for each exemption
                 2013 Chevrolet Equinox                                                                                            Ariz. Rev. Stat. § 33-1125 (8)
 Brief
 description:
                                                                    9,800.00
                                                                   $________________             6,000.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:        3.1
                 Household goods - Household Goods                                                                                 Ariz. Rev. Stat. § 33-1123
 Brief
 description:
                                                                     500.00
                                                                   $________________             3,000.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:          6
                 Electronics - Electronics                                                                                         Ariz. Rev. Stat. § 33-1123
 Brief
 description:
                                                                     800.00
                                                                   $________________             3,000.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:           7

 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔ No

      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes

           Case 2:19-bk-00089-DPC                          Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                             Desc
Official Form 106C                                          Schedule
                                                           Main      C: The PropertyPage
                                                                Document             You Claim
                                                                                           13 as
                                                                                               ofExempt
                                                                                                  50                                                                  2
                                                                                                                                                            page 1 of __
Debtor           John August Zarro
                _______________________________________________________                                                   2:19-bk-00089-DPC
                                                                                                   Case number (if known)_____________________________________
                First Name      Middle Name           Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                Amount of the                       Specific laws that allow exemption
                                                                       Current value of the   exemption you claim
         on Schedule A/B that lists this property                      portion you own
                                                                      Copy the value from    Check only one box
                                                                       Schedule A/B           for each exemption
               Clothing - Clothing                                                                                                 Ariz. Rev. Stat. § 33-1125 (1)
Brief
description:
                                                                        250.00
                                                                       $________________         500.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:          11
               Pets - Pets                                                                                                         Ariz. Rev. Stat. § 33-1125 (3)
Brief
description:                                                           $________________
                                                                        25.00                 
                                                                                              ✔ $ ____________
                                                                                                  1,000.00
                                                                                               100% of fair market value, up to
                                                                                                 any applicable statutory limit
Line from
Schedule A/B:         13
               Wells Fargo Checking (Checking)                                                                                     Ariz. Rev. Stat. § 33-1126 (A)(9)
Brief
description:                                                           $________________
                                                                        262.00                
                                                                                              ✔ $ ____________
                                                                                                  300.00
                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:         17.1
               401k through employer                                                                                               Ariz. Rev. Stat. § 33-1126 (B)
Brief
description:
                                                                        500.00
                                                                       $________________         100%
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:         21
               Security Deposit (Security Deposits)                                                                                Ariz. Rev. Stat. § 33-1126 (C), §
Brief                                                                                                                              33-1321 (A)
description:
                                                                        1,100.00
                                                                       $________________         2,000.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:           22
               Earned but unpaid wages owed to Debtor as of petition                                                               Ariz. Rev. Stat. § 33-1131
Brief
description:
               filing date (owed to debtor)                             Unknown
                                                                       $________________         75%
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:           30

Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
                                                                                                 any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
                                                                                                 any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:

           Case 2:19-bk-00089-DPC                          Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                          Desc
 Official Form 106C                                        Schedule
                                                           Main     C: The Property You
                                                                Document            PageClaim
                                                                                            14asofExempt
                                                                                                    50                                                     2
                                                                                                                                                     page ___ of __    2
 Fill in this information to identify your case:

                    John August Zarro
 Debtor 1          __________________________________________________________________
                     First Name                Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                Middle Name                 Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Arizona    District of __________
                                                                                       (State)
 Case number         ___________________________________________
                      2:19-bk-00089-DPC
 (If known)                                                                                                                                         Check if this is an
                                                                                                                                                       amended filing


Official Form 106D
Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      
      ✔ Yes. Fill in all of the information below.



Pa rt 1 :      List All Se c ure d Cla im s
                                                                                                                       Column A             Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                     Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                  that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor’s name.          value of collateral.               claim                 If any

2.1 Gm Financial                                        Describe the property that secures the claim:                  $_________________
                                                                                                                         16,721.00        $________________
                                                                                                                                             9,800.00       $____________
                                                                                                                                                              6,921.00
      ______________________________________            2013 Chevrolet Equinox - $9,800.00
      Creditor’s Name
       Po Box 181145
      ______________________________________
      Number            Street

      ______________________________________            As of the date you file, the claim is: Check all that apply.
       Arlington             TX 76096
      ______________________________________
                                                         Contingent
      City                        State   ZIP Code       Unliquidated
  Who owes the debt? Check one.                          Disputed
  
  ✔ Debtor 1 only
                                                        Nature of lien. Check all that apply.
   Debtor 2 only                                       
                                                        ✔ An agreement you made (such as mortgage or secured
   Debtor 1 and Debtor 2 only                               car loan)
   At least one of the debtors and another              Statutory lien (such as tax lien, mechanic’s lien)
   Check if this claim relates to a                     Judgment lien from a lawsuit
     community debt                                      Other (including a right to offset) ____________________
                         2015
  Date debt was incurred ____________                   Last 4 digits of account number 3983
2.2                                                     Describe the property that secures the claim:                  $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

      ______________________________________
                                                        As of the date you file, the claim is: Check all that apply.
      ______________________________________             Contingent
      City                        State   ZIP Code       Unliquidated
  Who owes the debt? Check one.                          Disputed
   Debtor 1 only                                       Nature of lien. Check all that apply.
   Debtor 2 only
                                                         An agreement you made (such as mortgage or secured
   Debtor 1 and Debtor 2 only                               car loan)
   At least one of the debtors and another              Statutory lien (such as tax lien, mechanic’s lien)
   Check if this claim relates to a                     Judgment lien from a lawsuit
     community debt                                      Other (including a right to offset) ____________________
  Date debt was incurred ____________                   Last 4 digits of account number
      Add the dollar value of your entries in Column A on this page. Write that number here:                             16,721.00
                                                                                                                       $_________________
               Case 2:19-bk-00089-DPC                         Doc 14          Filed 01/18/19             Entered 01/18/19 12:18:00                       Desc
   Official Form 106D                           Schedule Main   Document
                                                         D: Creditors             Page
                                                                      Who Have Claims    15 of
                                                                                      Secured    50
                                                                                              by Property                                                page 1 of ___
                                                                                                                                                                    1
Debtor 1
              John August Zarro
               _______________________________________________________                                                 2:19-bk-00089-DPC
                                                                                                Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt T ha t You Alre a dy List e d

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code
           Case 2:19-bk-00089-DPC                     Doc 14         Filed 01/18/19            Entered 01/18/19 12:18:00                    Desc
  Official Form 106D                                  Main Document
                                           Part 2 of Schedule                  Page
                                                              D: Creditors Who Have    16 Secured
                                                                                    Claims of 50 by Property                                 page ___
                                                                                                                                                   1 of ___
                                                                                                                                                        1
  Fill in this information to identify your case:

                          John August Zarro
      Debtor 1          __________________________________________________________________
                          First Name              Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name              Middle Name              Last Name


      United States Bankruptcy Court for the: ______________________
                                              District of Arizona    District of __________
                                                                                       (State)
      Case number         ___________________________________________
                            2:19-bk-00089-DPC
                                                                                                                                                  Check if this is an
      (If known)                                                                                                                                     amended filing


 Official Form 106E/F
 Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                                  12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Pa rt 1 :          List All of Y our PRIORI T Y Unse c ure d Cla im s

 1. Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
         
         ✔ Yes.

 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total claim   Priority     Nonpriority
                                                                                                                                                amount       amount
            Arizona Department of Revenue
2.1                                                                                                                            0.00           0.00        0.00
                                                                  Last 4 digits of account number                            $_____________ $___________ $____________
           ____________________________________________
           Priority Creditor’s Name
            Att: Collection Division                              When was the debt incurred?         Notice  Only
                                                                                                      ____________
           ____________________________________________
           Number            Street
           P O Box 29070
           ____________________________________________           As of the date you file, the claim is: Check all that apply.
                                            85038-9070
           ____________________________________________            Contingent
           City                          State     ZIP Code
                                                                   Unliquidated
           Who incurred the debt? Check one.                       Disputed
           
           ✔ Debtor 1 only
                                                                  Type of PRIORITY unsecured claim:
            Debtor 2 only                                         Domestic support obligations
            Debtor 1 and Debtor 2 only                           
                                                                  ✔ Taxes and certain other debts you owe the government
            At least one of the debtors and another               Claims for death or personal injury while you were
            Check if this claim is for a community debt              intoxicated
                                                                   Other. Specify
           Is the claim subject to offset?
           
           ✔ No

            Yes
             IRS
2.2
                                                                  Last 4 digits of account number                                 1,400.00 $___________
                                                                                                                                 $_____________ 1,400.00 $____________
                                                                                                                                                          0.00
            ____________________________________________
            Priority Creditor’s Name                              When was the debt incurred?         2014
                                                                                                      ____________
             PO Box 7317
            ____________________________________________
            Number           Street                               As of the date you file, the claim is: Check all that apply.
            ____________________________________________           Contingent
             Philadelphia            PA     19101
            ____________________________________________           Unliquidated
            City                          State    ZIP Code
                                                                   Disputed
            Who incurred the debt? Check one.
           
           ✔ Debtor 1 only
                                                                  Type of PRIORITY unsecured claim:
            Debtor 2 only                                         Domestic support obligations
            Debtor 1 and Debtor 2 only                           
                                                                  ✔ Taxes and certain other debts you owe the government
            At least one of the debtors and another               Claims for death or personal injury while you were
            Check if this claim is for a community debt              intoxicated
                                                                   Other. Specify
           Is the claim subject to offset?
           
           ✔ No

            Yes
                   Case 2:19-bk-00089-DPC                       Doc 14      Filed 01/18/19              Entered 01/18/19 12:18:00                      Desc
 Official Form 106E/F                                        Main E/F:
                                                           Schedule Document         Page
                                                                       Creditors Who Have   17 of 50
                                                                                          Unsecured Claims                                             page 1 of ___
                                                                                                                                                                 13
                    John August Zarro                                                                                           2:19-bk-00089-DPC
 Debtor 1           _______________________________________________________                              Case number (if known)_____________________________________
                    First Name         Middle Name      Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

          1 Progress                                                                                                                                        Total claim
4.1
                                                                                    Last 4 digits of account number 6869
         _____________________________________________________________                                                                                      218.00
                                                                                                                                                          $__________________
         Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?            2015
                                                                                                                           ____________
          1120 Welsh Road Suite 200, Credit Files
         _____________________________________________________________
         Number          Street

         _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
         North Wales                         PA       19454
         _____________________________________________________________               Contingent
         City                                        State          ZIP Code
                                                                                     Unliquidated
         Who incurred the debt? Check one.                                           Disputed
         
         ✔ Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
          Debtor 2 only
          Debtor 1 and Debtor 2 only                                                Student loans
          At least one of the debtors and another                                   Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
          Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?
                                                                                    
                                                                                    ✔ Other. Specify


         
         ✔ No

          Yes
4.2
         1 Stop Money Centers LLC                                                   Last 4 digits of account number CC2017093114SC                         Unknown
                                                                                                                                                          $__________________
         _____________________________________________________________              When was the debt incurred?            ____________
         Nonpriority Creditor’s Name
         P.O. Box 5636
         _____________________________________________________________
         Number          Street
                                                                                    As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
          Phoenix                                    AZ
                                                      85010
                                                                                     Contingent
         _____________________________________________________________               Unliquidated
         City                                        State          ZIP Code
         Who incurred the debt? Check one.                                           Disputed
         
         ✔ Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
          Debtor 2 only
                                                                                     Student loans
          Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
          At least one of the debtors and another                                      that you did not report as priority claims

          Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔ Other. Specify
         Is the claim subject to offset?
         
         ✔ No

          Yes
          Ace Cash Express
4.3
                                                                                    Last 4 digits of account number
         _____________________________________________________________                                                                                     803.56
                                                                                                                                                          $_________________
         Nonpriority Creditor’s Name                                                When was the debt incurred?            ____________
         2095 N Alma School Road
         _____________________________________________________________
         Number          Street

         _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
         Chandler                            AZ       85224
         _____________________________________________________________               Contingent
         City                                        State          ZIP Code
         Who incurred the debt? Check one.                                           Unliquidated
         
         ✔ Debtor 1 only                                                             Disputed
          Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
          Debtor 1 and Debtor 2 only                                                Student loans
          At least one of the debtors and another                                   Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
          Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                            
                                                                                    ✔ Other. Specify

         
         ✔ No

          Yes
                Case 2:19-bk-00089-DPC                        Doc 14           Filed 01/18/19          Entered 01/18/19 12:18:00                          Desc
      Official Form 106E/F                                  Main E/F:
                                                          Schedule Document         Page
                                                                      Creditors Who Have   18 of 50
                                                                                         Unsecured Claims                                                        page __
                                                                                                                                                                      2 of ___
                                                                                                                                                                           13
                   John August Zarro                                                                                            2:19-bk-00089-DPC
 Debtor 1         _______________________________________________________                                Case number (if known)_____________________________________
                  First Name          Middle Name      Last Name


 Pa rt 2 :      List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.4     Ad Astra Recovery Serv
       _____________________________________________________________                Last 4 digits of account number 664*
       Nonpriority Creditor’s Name                                                                                                                          1,940.00
                                                                                                                                                          $__________________
        7330 W 33rd St N Ste 118                                                    When was the debt incurred?            2017
                                                                                                                           ____________
       _____________________________________________________________
       Number          Street

       _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
        Wichita                                     KS             67205
       _____________________________________________________________
       City                                         State          ZIP Code          Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.
                                                                                     Disputed
       
       ✔ Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
        Debtor 2 only
                                                                                     Student loans
        Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
        At least one of the debtors and another                                        that you did not report as priority claims

        Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔ Other. Specify
       Is the claim subject to offset?
       
       ✔ No

        Yes
4.5     American Web Loans                                                          Last 4 digits of account number                                        1,500.00
                                                                                                                                                          $__________________
       _____________________________________________________________                When was the debt incurred?            ____________
       Nonpriority Creditor’s Name
        2128 N. 14th St. Suite 1 #130
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Ponca City                          OK       74601                            Contingent
       _____________________________________________________________
       City                                         State          ZIP Code          Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       
       ✔ Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
        Debtor 2 only
        Debtor 1 and Debtor 2 only                                                  Student loans
        At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
        Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔ Other. Specify
       Is the claim subject to offset?
       
       ✔ No

        Yes
4.6     Bankofmo                                                                    Last 4 digits of account number 3416
        _____________________________________________________________                                                                                      0.00
                                                                                                                                                          $_________________
        Nonpriority Creditor’s Name                                                 When was the debt incurred?            2016
                                                                                                                           ____________
        216 West 2nd St
        _____________________________________________________________
        Number          Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Dixon                               MO       65459
        _____________________________________________________________                Contingent
        City                                        State           ZIP Code
        Who incurred the debt? Check one.                                            Unliquidated
       
       ✔ Debtor 1 only                                                               Disputed
        Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only                                                  Student loans
        At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
        Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    ✔ Other. Specify

       
       ✔ No

        Yes
               Case 2:19-bk-00089-DPC                        Doc 14            Filed 01/18/19          Entered 01/18/19 12:18:00                          Desc
   Official Form 106E/F                                    Main E/F:
                                                         Schedule Document         Page
                                                                     Creditors Who Have   19 of 50
                                                                                        Unsecured Claims                                                         page __
                                                                                                                                                                      3 of ___
                                                                                                                                                                           13
                   John August Zarro                                                                                            2:19-bk-00089-DPC
 Debtor 1         _______________________________________________________                                Case number (if known)_____________________________________
                  First Name          Middle Name      Last Name


 Pa rt 2 :      List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.7     Bbva Compass
       _____________________________________________________________                Last 4 digits of account number
       Nonpriority Creditor’s Name                                                                                                                          Unknown
                                                                                                                                                          $__________________
        2009 Beltline Road Sw                                                       When was the debt incurred?            ____________
       _____________________________________________________________
       Number          Street

       _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
        Decatur                                     AL             35603
       _____________________________________________________________
       City                                         State          ZIP Code          Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.
                                                                                     Disputed
       
       ✔ Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
        Debtor 2 only
                                                                                     Student loans
        Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
        At least one of the debtors and another                                        that you did not report as priority claims

        Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔ Other. Specify
       Is the claim subject to offset?
       
       ✔ No

        Yes
4.8     Cap One                                                                     Last 4 digits of account number ****                                   0.00
                                                                                                                                                          $__________________
       _____________________________________________________________                When was the debt incurred?            ____________
                                                                                                                           2012
       Nonpriority Creditor’s Name
        P.O.Box 26030
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Richmond                            VA       23260-6030                       Contingent
       _____________________________________________________________
       City                                         State          ZIP Code          Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       
       ✔ Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
        Debtor 2 only
        Debtor 1 and Debtor 2 only                                                  Student loans
        At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
        Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔ Other. Specify
       Is the claim subject to offset?
       
       ✔ No

        Yes
4.9     Cash 1 Title Loans                                                          Last 4 digits of account number
        _____________________________________________________________                                                                                      Unknown
                                                                                                                                                          $_________________
        Nonpriority Creditor’s Name                                                 When was the debt incurred?            ____________
        1203 W University Dr
        _____________________________________________________________
        Number          Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Mesa                                AZ       85201
        _____________________________________________________________                Contingent
        City                                        State           ZIP Code
        Who incurred the debt? Check one.                                            Unliquidated
       
       ✔ Debtor 1 only                                                               Disputed
        Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only                                                  Student loans
        At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
        Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    ✔ Other. Specify

       
       ✔ No

        Yes
               Case 2:19-bk-00089-DPC                        Doc 14            Filed 01/18/19          Entered 01/18/19 12:18:00                          Desc
   Official Form 106E/F                                    Main E/F:
                                                         Schedule Document         Page
                                                                     Creditors Who Have   20 of 50
                                                                                        Unsecured Claims                                                         page __
                                                                                                                                                                      4 of ___
                                                                                                                                                                           13
                    John August Zarro                                                                                            2:19-bk-00089-DPC
 Debtor 1          _______________________________________________________                                Case number (if known)_____________________________________
                   First Name          Middle Name      Last Name


 Pa rt 2 :       List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.10 Cash Time Loan Centers, LLC
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                          Unknown
                                                                                                                                                           $__________________
         7430 S. 48th Street                                                         When was the debt incurred?            ____________
        _____________________________________________________________
        Number          Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Phoenix                                     AZ             85042
        _____________________________________________________________
        City                                         State          ZIP Code          Contingent
                                                                                      Unliquidated
        Who incurred the debt? Check one.
                                                                                      Disputed
        
        ✔ Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
         Debtor 2 only
                                                                                      Student loans
         Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
         At least one of the debtors and another                                        that you did not report as priority claims

         Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔ Other. Specify
        Is the claim subject to offset?
        
        ✔ No

         Yes
4.11 Checkmate Express Corporation                                                   Last 4 digits of account number CC2017058415SC                         Unknown
                                                                                                                                                           $__________________
        _____________________________________________________________                When was the debt incurred?            ____________
        Nonpriority Creditor’s Name
         PO Box 35220
        _____________________________________________________________
        Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Phoenix                             AZ       85069                            Contingent
        _____________________________________________________________
        City                                         State          ZIP Code          Unliquidated
        Who incurred the debt? Check one.                                             Disputed
        
        ✔ Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
         Debtor 2 only
         Debtor 1 and Debtor 2 only                                                  Student loans
         At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
         Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔ Other. Specify
        Is the claim subject to offset?
        
        ✔ No

         Yes
4.12     Checkmate Express Corporation                                               Last 4 digits of account number CC2017058415SC
         _____________________________________________________________                                                                                      0.00
                                                                                                                                                           $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?            ____________
         P.O. Box 35220
         _____________________________________________________________
         Number          Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Phoenix                             AZ       85069
         _____________________________________________________________                Contingent
         City                                        State           ZIP Code
         Who incurred the debt? Check one.                                            Unliquidated
        
        ✔ Debtor 1 only                                                               Disputed
         Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                                  Student loans
         At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
         Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔ Other. Specify

        
        ✔ No

         Yes
                Case 2:19-bk-00089-DPC                        Doc 14            Filed 01/18/19          Entered 01/18/19 12:18:00                          Desc
   Official Form 106E/F                                     Main E/F:
                                                          Schedule Document         Page
                                                                      Creditors Who Have   21 of 50
                                                                                         Unsecured Claims                                                         page __
                                                                                                                                                                       5 of ___
                                                                                                                                                                            13
                    John August Zarro                                                                                            2:19-bk-00089-DPC
 Debtor 1          _______________________________________________________                                Case number (if known)_____________________________________
                   First Name          Middle Name      Last Name


 Pa rt 2 :       List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.13 Credit One Bank Na
        _____________________________________________________________                Last 4 digits of account number 0003
        Nonpriority Creditor’s Name                                                                                                                          531.00
                                                                                                                                                           $__________________
         Po Box 98875                                                                When was the debt incurred?            2018
                                                                                                                            ____________
        _____________________________________________________________
        Number          Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Las Vegas                                   NV             89193
        _____________________________________________________________
        City                                         State          ZIP Code          Contingent
                                                                                      Unliquidated
        Who incurred the debt? Check one.
                                                                                      Disputed
        
        ✔ Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
         Debtor 2 only
                                                                                      Student loans
         Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
         At least one of the debtors and another                                        that you did not report as priority claims

         Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔ Other. Specify
        Is the claim subject to offset?
        
        ✔ No

         Yes
4.14 Credit One Bank Na                                                              Last 4 digits of account number 3254                                   0.00
                                                                                                                                                           $__________________
        _____________________________________________________________                When was the debt incurred?            ____________
                                                                                                                            2011
        Nonpriority Creditor’s Name
         Po Box 98875
        _____________________________________________________________
        Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Las Vegas                           NV       89193                            Contingent
        _____________________________________________________________
        City                                         State          ZIP Code          Unliquidated
        Who incurred the debt? Check one.                                             Disputed
        
        ✔ Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
         Debtor 2 only
         Debtor 1 and Debtor 2 only                                                  Student loans
         At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
         Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔ Other. Specify
        Is the claim subject to offset?
        
        ✔ No

         Yes
4.15     Desert Schools CU                                                           Last 4 digits of account number
         _____________________________________________________________                                                                                      Unknown
                                                                                                                                                           $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?            ____________
         PO Box 2945
         _____________________________________________________________
         Number          Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Phoenix                             AZ       85062
         _____________________________________________________________                Contingent
         City                                        State           ZIP Code
         Who incurred the debt? Check one.                                            Unliquidated
        
        ✔ Debtor 1 only                                                               Disputed
         Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                                  Student loans
         At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
         Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔ Other. Specify

        
        ✔ No

         Yes
                Case 2:19-bk-00089-DPC                        Doc 14            Filed 01/18/19          Entered 01/18/19 12:18:00                          Desc
   Official Form 106E/F                                     Main E/F:
                                                          Schedule Document         Page
                                                                      Creditors Who Have   22 of 50
                                                                                         Unsecured Claims                                                         page __
                                                                                                                                                                       6 of ___
                                                                                                                                                                            13
                    John August Zarro                                                                                           2:19-bk-00089-DPC
 Debtor 1          _______________________________________________________                               Case number (if known)_____________________________________
                   First Name          Middle Name      Last Name


 Pa rt 2 :       List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.16 Fast Auto Loans
        _____________________________________________________________               Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                         1,786.50
                                                                                                                                                          $__________________
         25 West Warner Road                                                        When was the debt incurred?            ____________
        _____________________________________________________________
        Number          Street

        _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
         85225
        _____________________________________________________________
        City                                         State          ZIP Code         Contingent
                                                                                     Unliquidated
        Who incurred the debt? Check one.
                                                                                     Disputed
        
        ✔ Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
         Debtor 2 only
                                                                                     Student loans
         Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
         At least one of the debtors and another                                       that you did not report as priority claims

         Check if this claim is for a community debt                                Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔ Other. Specify
        Is the claim subject to offset?
        
        ✔ No

         Yes
4.17 Fast Auto Loans Inc                                                            Last 4 digits of account number TL-AZ0604                              1,012.50
                                                                                                                                                          $__________________
        _____________________________________________________________               When was the debt incurred?            ____________
        Nonpriority Creditor’s Name
         25 West Warner Road
        _____________________________________________________________
        Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Chandler                            AZ       85225                           Contingent
        _____________________________________________________________
        City                                         State          ZIP Code         Unliquidated
        Who incurred the debt? Check one.                                            Disputed
        
        ✔ Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
         Debtor 2 only
         Debtor 1 and Debtor 2 only                                                 Student loans
         At least one of the debtors and another                                    Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
         Check if this claim is for a community debt                                Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔ Other. Specify
        Is the claim subject to offset?
        
        ✔ No

         Yes
4.18     First Premier Bank                                                         Last 4 digits of account number 9645
         _____________________________________________________________                                                                                     477.00
                                                                                                                                                          $_________________
         Nonpriority Creditor’s Name                                                When was the debt incurred?            2018
                                                                                                                           ____________
         601 S Minnesota Ave
         _____________________________________________________________
         Number          Street
                                                                                    As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Sioux Falls                         SD       57104
         _____________________________________________________________               Contingent
         City                                        State          ZIP Code
         Who incurred the debt? Check one.                                           Unliquidated
        
        ✔ Debtor 1 only                                                              Disputed
         Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                                 Student loans
         At least one of the debtors and another                                    Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
         Check if this claim is for a community debt                                Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                             
                                                                                    ✔ Other. Specify

        
        ✔ No

         Yes
                Case 2:19-bk-00089-DPC                        Doc 14           Filed 01/18/19          Entered 01/18/19 12:18:00                          Desc
   Official Form 106E/F                                    Main E/F:
                                                         Schedule Document         Page
                                                                     Creditors Who Have   23 of 50
                                                                                        Unsecured Claims                                                         page __
                                                                                                                                                                      7 of ___
                                                                                                                                                                           13
                    John August Zarro                                                                                            2:19-bk-00089-DPC
 Debtor 1          _______________________________________________________                                Case number (if known)_____________________________________
                   First Name          Middle Name      Last Name


 Pa rt 2 :       List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.19 Fst Premie
        _____________________________________________________________                Last 4 digits of account number 9152
        Nonpriority Creditor’s Name                                                                                                                          0.00
                                                                                                                                                           $__________________
         601 S Minnesota Ave                                                         When was the debt incurred?            2013
                                                                                                                            ____________
        _____________________________________________________________
        Number          Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Sioux Falls                                 SD             57104
        _____________________________________________________________
        City                                         State          ZIP Code          Contingent
                                                                                      Unliquidated
        Who incurred the debt? Check one.
                                                                                      Disputed
        
        ✔ Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
         Debtor 2 only
                                                                                      Student loans
         Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
         At least one of the debtors and another                                        that you did not report as priority claims

         Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔ Other. Specify
        Is the claim subject to offset?
        
        ✔ No

         Yes
4.20 Genesis/Celtic Indigo                                                           Last 4 digits of account number 6882                                   382.00
                                                                                                                                                           $__________________
        _____________________________________________________________                When was the debt incurred?            ____________
                                                                                                                            2018
        Nonpriority Creditor’s Name
         Po Box 4499
        _____________________________________________________________
        Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Beaverton                           OR       97076                            Contingent
        _____________________________________________________________
        City                                         State          ZIP Code          Unliquidated
        Who incurred the debt? Check one.                                             Disputed
        
        ✔ Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
         Debtor 2 only
         Debtor 1 and Debtor 2 only                                                  Student loans
         At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
         Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔ Other. Specify
        Is the claim subject to offset?
        
        ✔ No

         Yes
4.21     Green Arrow Loan                                                            Last 4 digits of account number 1762391
         _____________________________________________________________                                                                                      334.00
                                                                                                                                                           $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?            ____________
         P.O. Box 170
         _____________________________________________________________
         Number          Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Finley                              CA       95435
         _____________________________________________________________                Contingent
         City                                        State           ZIP Code
         Who incurred the debt? Check one.                                            Unliquidated
        
        ✔ Debtor 1 only                                                               Disputed
         Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                                  Student loans
         At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
         Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔ Other. Specify

        
        ✔ No

         Yes
                Case 2:19-bk-00089-DPC                        Doc 14            Filed 01/18/19          Entered 01/18/19 12:18:00                          Desc
   Official Form 106E/F                                     Main E/F:
                                                          Schedule Document         Page
                                                                      Creditors Who Have   24 of 50
                                                                                         Unsecured Claims                                                         page __
                                                                                                                                                                       8 of ___
                                                                                                                                                                            13
                    John August Zarro                                                                                            2:19-bk-00089-DPC
 Debtor 1          _______________________________________________________                                Case number (if known)_____________________________________
                   First Name          Middle Name      Last Name


 Pa rt 2 :       List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.22 Green Trust Cash
        _____________________________________________________________                Last 4 digits of account number 47-958-12997
        Nonpriority Creditor’s Name                                                                                                                          523.00
                                                                                                                                                           $__________________
         P.O. Box 340                                                                When was the debt incurred?            ____________
        _____________________________________________________________
        Number          Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Hays                                        MT             59527
        _____________________________________________________________
        City                                         State          ZIP Code          Contingent
                                                                                      Unliquidated
        Who incurred the debt? Check one.
                                                                                      Disputed
        
        ✔ Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
         Debtor 2 only
                                                                                      Student loans
         Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
         At least one of the debtors and another                                        that you did not report as priority claims

         Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔ Other. Specify
        Is the claim subject to offset?
        
        ✔ No

         Yes
4.23 Midland Funding                                                                 Last 4 digits of account number ****                                   500.00
                                                                                                                                                           $__________________
        _____________________________________________________________                When was the debt incurred?            ____________
                                                                                                                            2014
        Nonpriority Creditor’s Name
         2365 Northside Dr Ste 30
        _____________________________________________________________
        Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        San Diego                           CA       92108                            Contingent
        _____________________________________________________________
        City                                         State          ZIP Code          Unliquidated
        Who incurred the debt? Check one.                                             Disputed
        
        ✔ Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
         Debtor 2 only
         Debtor 1 and Debtor 2 only                                                  Student loans
         At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
         Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔ Other. Specify
        Is the claim subject to offset?
        
        ✔ No

         Yes
4.24     Money Lion                                                                  Last 4 digits of account number LL-I-42771761
         _____________________________________________________________                                                                                      444.04
                                                                                                                                                           $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?            ____________
         P O Box 1547
         _____________________________________________________________
         Number          Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Sandy                               UT       84091
         _____________________________________________________________                Contingent
         City                                        State           ZIP Code
         Who incurred the debt? Check one.                                            Unliquidated
        
        ✔ Debtor 1 only                                                               Disputed
         Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                                  Student loans
         At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
         Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔ Other. Specify

        
        ✔ No

         Yes
                Case 2:19-bk-00089-DPC                        Doc 14            Filed 01/18/19          Entered 01/18/19 12:18:00                          Desc
   Official Form 106E/F                                     Main E/F:
                                                          Schedule Document         Page
                                                                      Creditors Who Have   25 of 50
                                                                                         Unsecured Claims                                                         page __
                                                                                                                                                                       9 of ___
                                                                                                                                                                            13
                    John August Zarro                                                                                            2:19-bk-00089-DPC
 Debtor 1          _______________________________________________________                                Case number (if known)_____________________________________
                   First Name          Middle Name      Last Name


 Pa rt 2 :       List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.25 Nationstar/Mr Cooper
        _____________________________________________________________                Last 4 digits of account number 3389
        Nonpriority Creditor’s Name                                                                                                                          0.00
                                                                                                                                                           $__________________
         8950 Cypress Waters Blvd                                                    When was the debt incurred?            2006
                                                                                                                            ____________
        _____________________________________________________________
        Number          Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Coppell                                     TX             75019
        _____________________________________________________________
        City                                         State          ZIP Code          Contingent
                                                                                      Unliquidated
        Who incurred the debt? Check one.
                                                                                      Disputed
        
        ✔ Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
         Debtor 2 only
                                                                                      Student loans
         Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
         At least one of the debtors and another                                        that you did not report as priority claims

         Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔ Other. Specify
        Is the claim subject to offset?
        
        ✔ No

         Yes
4.26 SRP                                                                             Last 4 digits of account number 993-756-006                            414.54
                                                                                                                                                           $__________________
        _____________________________________________________________                When was the debt incurred?            ____________
        Nonpriority Creditor’s Name
         3255 S Rural Rd
        _____________________________________________________________
        Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Tempe                               AZ       85282                            Contingent
        _____________________________________________________________
        City                                         State          ZIP Code          Unliquidated
        Who incurred the debt? Check one.                                             Disputed
        
        ✔ Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
         Debtor 2 only
         Debtor 1 and Debtor 2 only                                                  Student loans
         At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
         Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔ Other. Specify
        Is the claim subject to offset?
        
        ✔ No

         Yes
4.27     Silver Cloud Financial                                                      Last 4 digits of account number
         _____________________________________________________________                                                                                      1,386.00
                                                                                                                                                           $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?            ____________
         635 East Hwy 20, C
         _____________________________________________________________
         Number          Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Upper Lake                          CA       95485
         _____________________________________________________________                Contingent
         City                                        State           ZIP Code
         Who incurred the debt? Check one.                                            Unliquidated
        
        ✔ Debtor 1 only                                                               Disputed
         Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                                  Student loans
         At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
         Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔ Other. Specify

        
        ✔ No

         Yes
                Case 2:19-bk-00089-DPC                        Doc 14            Filed 01/18/19          Entered 01/18/19 12:18:00                          Desc
   Official Form 106E/F                                     Main E/F:
                                                          Schedule Document         Page
                                                                      Creditors Who Have   26 of 50
                                                                                         Unsecured Claims                                                         page __
                                                                                                                                                                       10 of ___
                                                                                                                                                                             13
                    John August Zarro                                                                                            2:19-bk-00089-DPC
 Debtor 1          _______________________________________________________                                Case number (if known)_____________________________________
                   First Name          Middle Name      Last Name


 Pa rt 2 :       List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.28 Speedy Cash Car Title Loans LLC
        _____________________________________________________________                Last 4 digits of account number CC2018019002RC
        Nonpriority Creditor’s Name                                                                                                                          5,498.92
                                                                                                                                                           $__________________
         1960 Baseline Road                                                          When was the debt incurred?            ____________
        _____________________________________________________________
        Number          Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Mesa                                        AZ             85202
        _____________________________________________________________
        City                                         State          ZIP Code          Contingent
                                                                                      Unliquidated
        Who incurred the debt? Check one.
                                                                                      Disputed
        
        ✔ Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
         Debtor 2 only
                                                                                      Student loans
         Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
         At least one of the debtors and another                                        that you did not report as priority claims

         Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔ Other. Specify
        Is the claim subject to offset?
        
        ✔ No

         Yes
4.29 Tate and Kirlin Associates                                                      Last 4 digits of account number                                        0.00
                                                                                                                                                           $__________________
        _____________________________________________________________                When was the debt incurred?            ____________
        Nonpriority Creditor’s Name
         2810 Southampton Rd
        _____________________________________________________________
        Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Philadelphia                        PA       19154                            Contingent
        _____________________________________________________________
        City                                         State          ZIP Code          Unliquidated
        Who incurred the debt? Check one.                                             Disputed
        
        ✔ Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
         Debtor 2 only
         Debtor 1 and Debtor 2 only                                                  Student loans
         At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
         Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔ Other. Specify
        Is the claim subject to offset?
        
        ✔ No

         Yes
4.30     Tbom/Total Crd                                                              Last 4 digits of account number 2173
         _____________________________________________________________                                                                                      Unknown
                                                                                                                                                           $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?            2015
                                                                                                                            ____________
         5109 S Broadband Ln
         _____________________________________________________________
         Number          Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Sioux Falls                         SD       57108
         _____________________________________________________________                Contingent
         City                                        State           ZIP Code
         Who incurred the debt? Check one.                                            Unliquidated
        
        ✔ Debtor 1 only                                                               Disputed
         Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                                  Student loans
         At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
         Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔ Other. Specify

        
        ✔ No

         Yes
                Case 2:19-bk-00089-DPC                        Doc 14            Filed 01/18/19          Entered 01/18/19 12:18:00                          Desc
   Official Form 106E/F                                     Main E/F:
                                                          Schedule Document         Page
                                                                      Creditors Who Have   27 of 50
                                                                                         Unsecured Claims                                                         page __
                                                                                                                                                                       11 of ___
                                                                                                                                                                             13
                 John August Zarro                                                                                            2:19-bk-00089-DPC
Debtor 1         _______________________________________________________                               Case number (if known)_____________________________________
                 First Name         Middle Name      Last Name


 Pa rt 2 :     List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                          Total claim
4.31 True Accord
      _____________________________________________________________               Last 4 digits of account number 47-21-1772-13207
      Nonpriority Creditor’s Name                                                                                                                         Unknown
                                                                                                                                                        $__________________
       303 2nd Street                                                             When was the debt incurred?            ____________
      _____________________________________________________________
      Number          Street
       Suite 750 S
      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       San Francisco                              CA             94107
      _____________________________________________________________
      City                                        State          ZIP Code          Contingent
                                                                                   Unliquidated
      Who incurred the debt? Check one.
                                                                                   Disputed
      
      ✔ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
       Debtor 2 only
                                                                                   Student loans
       Debtor 1 and Debtor 2 only
                                                                                   Obligations arising out of a separation agreement or divorce
       At least one of the debtors and another                                       that you did not report as priority claims

       Check if this claim is for a community debt                                Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔ Other. Specify
      Is the claim subject to offset?
      
      ✔ No

       Yes
                                                                                  Last 4 digits of account number                                       $__________________
      _____________________________________________________________               When was the debt incurred?            ____________
      Nonpriority Creditor’s Name

      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
                                                                                   Contingent
      _____________________________________________________________
      City                                        State          ZIP Code          Unliquidated
      Who incurred the debt? Check one.                                            Disputed
       Debtor 1 only                                                             Type of NONPRIORITY unsecured claim:
       Debtor 2 only
       Debtor 1 and Debtor 2 only                                                 Student loans
       At least one of the debtors and another                                    Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Check if this claim is for a community debt                                Debts to pension or profit-sharing plans, and other similar debts
                                                                                   Other. Specify
      Is the claim subject to offset?
       No
       Yes
                                                                                  Last 4 digits of account number
      _____________________________________________________________                                                                                     $_________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?            ____________

      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________

      _____________________________________________________________                Contingent
      City                                        State           ZIP Code
      Who incurred the debt? Check one.                                            Unliquidated
       Debtor 1 only                                                              Disputed
       Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       Debtor 1 and Debtor 2 only                                                 Student loans
       At least one of the debtors and another                                    Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Check if this claim is for a community debt                                Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              Other. Specify
       No
       Yes
             Case 2:19-bk-00089-DPC                        Doc 14            Filed 01/18/19          Entered 01/18/19 12:18:00                          Desc
  Official Form 106E/F                                   Main E/F:
                                                       Schedule Document         Page
                                                                   Creditors Who Have   28 of 50
                                                                                      Unsecured Claims                                                         page __
                                                                                                                                                                    12 of ___
                                                                                                                                                                          13
               John August Zarro                                                                              2:19-bk-00089-DPC
Debtor 1       _______________________________________________________                     Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Pa rt 4 :    Add the Am ount s for Ea c h Type of U nse c ure d Cla im


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                      Total claim


                6a. Domestic support obligations                              6a.                         0.00
Total claims                                                                          $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                6b.                    1,400.00
                                                                                      $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                               6c.                         0.00
                                                                                      $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                   6d.
                                                                                    + $_________________________
                                                                                                          0.00


                6e. Total. Add lines 6a through 6d.                           6e.
                                                                                                     1,400.00
                                                                                      $_________________________



                                                                                      Total claim

                6f. Student loans                                             6f.                          0.00
Total claims                                                                           $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                    6g.
                                                                                                           0.00
                                                                                       $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                             6h.                          0.00
                                                                                      $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                   6i.   + $_________________________
                                                                                                    17,751.06


                6j. Total. Add lines 6f through 6i.                           6j.
                                                                                                     17,751.06
                                                                                       $_________________________




            Case 2:19-bk-00089-DPC                       Doc 14       Filed 01/18/19      Entered 01/18/19 12:18:00                  Desc
  Official Form 106E/F                                  Main E/F:
                                                      Schedule Document         Page
                                                                  Creditors Who Have   29 of 50
                                                                                     Unsecured Claims                                       page __
                                                                                                                                                 13 of ___
                                                                                                                                                        13
 Fill in this information to identify your case:

                       John August Zarro
 Debtor               __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


 United States Bankruptcy Court for the:______________________
                                        District of Arizona    District of ________
                                                                                 (State)
 Case number            2:19-bk-00089-DPC
                       ___________________________________________
  (If known)                                                                                                                          Check if this is an
                                                                                                                                         amended filing


Official Form 106G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      ✔ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.

       Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                            State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code
            Case 2:19-bk-00089-DPC                          Doc 14    Filed 01/18/19          Entered 01/18/19 12:18:00                    Desc
Official Form 106G                             ScheduleMain   Document
                                                        G: Executory            Page
                                                                     Contracts and     30 of
                                                                                   Unexpired   50
                                                                                             Leases                                                  1
                                                                                                                                           page 1 of ___
 Fill in this information to identify your case:

                    John August Zarro
 Debtor 1          __________________________________________________________________
                     First Name                      Middle Name              Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name              Last Name


 United States Bankruptcy Court for the:_______________________
                                         District of Arizona    District of ________
                                                                                          (State)
 Case number           2:19-bk-00089-DPC
                     ____________________________________________
  (If known)
                                                                                                                                             Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Sc he dule H : Y our Code bt ors                                                                                                                         12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      ✔ No
       Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       No. Go to line 3.
      
      ✔ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

         No
                                                                   AZ
        ✔ Yes. In which community state or territory did you live? __________________.      Fill in the name and current address of that person.


                   Joan Deaugustino
                  ______________________________________________________________________
                  Name of your spouse, former spouse, or legal equivalent

                  ______________________________________________________________________
                  Number          Street

                  ______________________________________________________________________
                  City                                             State                    ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:
3.1
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                           Schedule E/F, line ______
         Street                                                                                            Schedule G, line ______
         ________________________________________________________________________________
         City                                                         State                    ZIP Code

3.2
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                           Schedule E/F, line ______
         Street                                                                                            Schedule G, line ______
         ________________________________________________________________________________
         City                                                         State                    ZIP Code

3.3
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                           Schedule E/F, line ______
         Street                                                                                            Schedule G, line ______
         ________________________________________________________________________________
         City                                                         State                    ZIP Code

           Case 2:19-bk-00089-DPC                                    Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                            Desc
Official Form 106H                                                   Main Document          Page 31 of 50
                                                                           Schedule H: Your Codebtors                                                       1
                                                                                                                                                 page 1 of ___
 Fill in this information to identify your case:

                      John August Zarro
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: ______________________
                                          District of Arizona   District
                                                                                tate)
 Case number            2:19-bk-00089-DPC
                     ___________________________________________                                    Check if this is:
  (If known)
                                                                                                     An amended filing
                                                                                                     A supplement showing postpetition chapter 13
                                                                                                       income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                         Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                       ✔ Employed
    information about additional         Employment status                                                         Employed
    employers.                                                         Not employed                                Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 __________________________________           __________________________________
    Occupation may include student
    or homemaker, if it applies.                                       Glynlyon Inc.
                                         Employer’s name            __________________________________            __________________________________


                                         Employer’s address           300 N. McKemy Avenue
                                                                   _______________________________________      ________________________________________
                                                                    Number Street                                Number    Street

                                                                   _______________________________________      ________________________________________

                                                                   _______________________________________      ________________________________________

                                                                      Chandler, AZ 85226
                                                                   _______________________________________      ________________________________________
                                                                    City            State  ZIP Code               City                State ZIP Code

                                          How long employed there?________________________                        ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1       For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.        2.       5,200.82
                                                                                              $___________          $____________

 3. Estimate and list monthly overtime pay.                                             3.   + $___________
                                                                                                       0.00      + $____________

 4. Calculate gross income. Add line 2 + line 3.                                        4.       5,200.82
                                                                                              $__________           $____________



            Case 2:19-bk-00089-DPC                        Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                  Desc
Official Form 106I                                              Schedule I: Your Page
                                                          Main Document          Income 32 of 50                                              page 1
Debtor 1
                 John  August Zarro
                 _______________________________________________________                                                                         2:19-bk-00089-DPC
                                                                                                                         Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                        For Debtor 1        For Debtor 2 or
                                                                                                                                            non-filing spouse

   Copy line 4 here ............................................................................................  4.      5,200.82
                                                                                                                        $___________           $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.         290.68
                                                                                                                        $____________          $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.           0.00
                                                                                                                        $____________          $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.           0.00
                                                                                                                        $____________          $_____________
     5d. Required repayments of retirement fund loans                                                            5d.           0.00
                                                                                                                        $____________          $_____________
     5e. Insurance                                                                                               5e.         540.67
                                                                                                                        $____________          $_____________
     5f. Domestic support obligations                                                                            5f.           0.00
                                                                                                                        $____________          $_____________
                                                                                                                               0.00
                                                                                                                        $____________          $_____________
     5g. Union dues                                                                                              5g.
                                     Child Support                                                               5h. + $____________
     5h. Other deductions. Specify: __________________________________                                                    1,496.00          + $_____________
     LTD - Post Tax
    _____________________________________________________________
                                                                                                                              48.53
                                                                                                                        $____________          $____________
    _____________________________________________________________                                                       $____________          $____________
    _____________________________________________________________                                                       $____________          $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.       2,375.88
                                                                                                                        $____________          $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.       2,824.94
                                                                                                                        $____________          $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                   0.00
                                                                                                                        $____________          $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.           0.00
                                                                                                                        $____________          $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                0.00
                                                                                                                        $____________          $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.           0.00
                                                                                                                        $____________          $_____________
     8e. Social Security                                                                                         8e.           0.00
                                                                                                                        $____________          $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                      0.00
                                                                                                                        $____________          $_____________

     8g. Pension or retirement income                                                                            8g.           0.00
                                                                                                                        $____________          $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h. + $____________
                                                                                                                              0.00           + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.           0.00
                                                                                                                        $____________          $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                           2,824.94
                                                                                                                        $___________    +      $_____________        = $_____________
                                                                                                                                                                          2,824.94

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                   11. + $_____________
                                                                                                                                                                             0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                          2,824.94
                                                                                                                                                                       $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                         12.
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔ No.
       Yes. Explain:
           Case 2:19-bk-00089-DPC                                   Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                                  Desc
  Official Form 106I                                                      Schedule I: Your Page
                                                                    Main Document          Income 33 of 50                                                               page 2
                John August Zarro                                                                   2:19-bk-00089-DPC
 Debtor 1                                                    _             Case number (if known)
               First Name   Middle Name   Last Name



                                             Continuation Sheet for Official Form 106I


1. Describe Employment:

Debtor: John August Zarro

Occupation:

Name of Employer: Uber

Employer's Address: 555 Market Street, San Francisco, CA 94104

Length of Employment:

-------




            Case 2:19-bk-00089-DPC             Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                     Desc
   Official Form 106I                                Schedule I: Your Income
                                               Main Document           Page 34 of 50
  Fill in this information to identify your case:

                     John August Zarro
  Debtor 1          __________________________________________________________________
                      First Name             Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                              An amended filing
                                          District of Arizona
                                                                                                              A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________ District of __________                          expenses as of the following date:
                                                                                     (State)
                       2:19-bk-00089-DPC                                                                         ________________
  Case number         ___________________________________________                                                MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                No
                Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                  No                                           Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                ✔ Yes. Fill out this information for
                                                                                         Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                   each dependent..........................
   Do not state the dependents’                                                            Son                                      6             No
                                                                                          _________________________                ________
   names.                                                                                                                                        
                                                                                                                                                 ✔ Yes

                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
3. Do your expenses include
   expenses of people other than
                                            No
   yourself and your dependents?            Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                 Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                 1,100.00
                                                                                                                                     $_____________________
     any rent for the ground or lot.                                                                                         4.

     If not included in line 4:
                                                                                                                                                      0.00
     4a.    Real estate taxes                                                                                                4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                     4b.
                                                                                                                                                      0.00
                                                                                                                                     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                    4c.                      0.00
                                                                                                                                     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                      4d.                      0.00
                                                                                                                                     $_____________________

  Official Case   2:19-bk-00089-DPC
           Form 106J                                       DocSchedule
                                                                14 Filed
                                                                       J: Your01/18/19
                                                                               Expenses Entered 01/18/19 12:18:00                                 Desc
                                                                                                                                                     page 1
                                                           Main Document          Page 35 of 50
                   John August Zarro                                                                              2:19-bk-00089-DPC
 Debtor 1         _______________________________________________________                 Case number (if known)_____________________________________
                  First Name     Middle Name        Last Name




                                                                                                                     Your expenses

                                                                                                                    $_____________________
                                                                                                                                     0.00
 5. Additional mortgage payments for your residence, such as home equity loans                               5.


 6. Utilities:

       6a.   Electricity, heat, natural gas                                                                  6a.    $_____________________
                                                                                                                                  330.00
       6b.   Water, sewer, garbage collection                                                                6b.    $_____________________
                                                                                                                                   75.00
       6c.   Telephone, cell phone, Internet, satellite, and cable services                                  6c.    $_____________________
                                                                                                                                  120.00
       6d.   Other. Specify: _______________________________________________                                 6d.    $_____________________
                                                                                                                                     0.00
 7. Food and housekeeping supplies                                                                           7.     $_____________________
                                                                                                                                  550.00
 8. Childcare and children’s education costs                                                                 8.     $_____________________
                                                                                                                                   50.00
 9. Clothing, laundry, and dry cleaning                                                                      9.     $_____________________
                                                                                                                                  105.00
10.    Personal care products and services                                                                   10.    $_____________________
                                                                                                                                   50.00
11.    Medical and dental expenses                                                                           11.    $_____________________
                                                                                                                                   50.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                    $_____________________
                                                                                                                                     0.00
       Do not include car payments.                                                                          12.

13.    Entertainment, clubs, recreation, newspapers, magazines, and books                                    13.    $_____________________
                                                                                                                                  100.00
14.    Charitable contributions and religious donations                                                      14.    $_____________________
                                                                                                                                     0.00
                                                                                                                                                  1
15.    Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                   15a.                    0.00
                                                                                                                    $_____________________
       15b. Health insurance                                                                                 15b.   $_____________________
                                                                                                                                     0.00
       15c. Vehicle insurance                                                                                15c.   $_____________________
                                                                                                                                  160.00
       15d. Other insurance. Specify:_______________________________________                                 15d.   $_____________________
                                                                                                                                     0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify: ________________________________________________________                                     16.
                                                                                                                                    0.00
                                                                                                                    $_____________________

17.    Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                       17a.   $_____________________
                                                                                                                                     0.00
       17b. Car payments for Vehicle 2                                                                       17b.   $_____________________
                                                                                                                                     0.00
                             Additional Car Payments
       17c. Other. Specify:_______________________________________________                                   17c.   $_____________________
                                                                                                                                     0.00
       17d. Other. Specify:_______________________________________________                                   17d.                    0.00
                                                                                                                    $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                      18.                    0.00
                                                                                                                    $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                        19.
                                                                                                                                     0.00
                                                                                                                    $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                      20a.   $_____________________
                                                                                                                                     0.00
       20b. Real estate taxes                                                                                20b.   $_____________________
                                                                                                                                     0.00
       20c. Property, homeowner’s, or renter’s insurance                                                     20c.   $_____________________
                                                                                                                                     0.00
       20d. Maintenance, repair, and upkeep expenses                                                         20d.   $_____________________
                                                                                                                                     0.00
       20e. Homeowner’s association or condominium dues                                                      20e.   $_____________________
                                                                                                                                     0.00


      Official Case   2:19-bk-00089-DPC
               Form 106J                                 DocSchedule
                                                              14 Filed
                                                                     J: Your01/18/19
                                                                             Expenses Entered 01/18/19 12:18:00                     Desc
                                                                                                                                       page 2
                                                         Main Document          Page 36 of 50
                  John August Zarro                                                                                    2:19-bk-00089-DPC
Debtor 1         _______________________________________________________                       Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                  21.   +$_____________________
______________________________________________________________________________________                                  +$_____________________
______________________________________________________________________________________                                  +$_____________________
22.     Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                             22a.                 2,690.00
                                                                                                                         $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

       and 22b. The result is your monthly expenses.                                                            22c.                 2,690.00
                                                                                                                         $_____________________


23. Calculate your monthly net income.
                                                                                                                                      2,824.94
                                                                                                                          $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.

      23b.   Copy your monthly expenses from line 22c above.                                                     23b.                 2,690.00
                                                                                                                        – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                   134.94
                                                                                                                          $_____________________
             The result is your monthly net income.                                                              23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
       Yes.       Explain here:




      Official Case   2:19-bk-00089-DPC
               Form 106J                               DocSchedule
                                                            14 Filed
                                                                   J: Your01/18/19
                                                                           Expenses Entered 01/18/19 12:18:00                            Desc
                                                                                                                                            page 3
                                                       Main Document          Page 37 of 50
Fill in this information to identify your case:

Debtor 1           John August Zarro
                  __________________________________________________________________
                    First Name              Middle Name            Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name            Last Name


                                        ______________________
United States Bankruptcy Court for the:District of Arizona     District of __________
                                                                               (State)
Case number         2:19-bk-00089-DPC
                    ___________________________________________
(If known)
                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                    12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔ No

        Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                              Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ John August Zarro
          ______________________________________________           _____________________________
         Signature of Debtor 1                                        Signature of Debtor 2


              01/18/2019
         Date _________________                                       Date _________________
                MM /    DD       /   YYYY                                      MM / DD /   YYYY




  Official Form
            Case106Dec
                    2:19-bk-00089-DPC                      Declaration
                                                          Doc   14 About
                                                                       Filedan01/18/19
                                                                               Individual Debtor’s Schedules
                                                                                             Entered    01/18/19 12:18:00                 Desc
                                                          Main Document           Page 38 of 50
 Fill in this information to identify your case:

 Debtor 1          John August Zarro
                   __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: District
                                          ______________________
                                                  of Arizona     District of ______________
                                                                            (State)
 Case number         ___________________________________________
                       2:19-bk-00089-DPC
  (If known)                                                                                                                            Check if this is an
                                                                                                                                          amended filing




Official Form 107
St a t e m e nt of Fina nc ia l Affa irs for I ndividua ls Filing for Ba nk rupt c y                                                                        4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Pa rt 1 :       Give De t a ils About Y our M a rit a l St a t us a nd Whe re Y ou Live d Be fore


 1. What is your current marital status?


       Married
      
      ✔ Not married



 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     ✔ No

      Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
               Debtor 1:                                       Dates Debtor 1         Debtor 2:                                             Dates Debtor 2
                                                               lived there                                                                  lived there

                                                                                       Same as Debtor 1                                    Same as Debtor 1
               __________________________________________      From     ________         ___________________________________________          From ________
                Number    Street                                                         Number Street
                                                               To       __________                                                            To      ________
               __________________________________________                                ___________________________________________

               __________________________________________                                ___________________________________________
               City                     State ZIP Code                                   City                     State ZIP Code


                                                                                       Same as Debtor 1                                   Same as Debtor 1
               __________________________________________      From     ________         ___________________________________________          From ________
                Number    Street                                                         Number Street
                                                               To       ________                                                              To      ________
               __________________________________________                                ___________________________________________

               __________________________________________                                ___________________________________________
               City                     State ZIP Code                                   City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      No
     
     ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 1
           Case 2:19-bk-00089-DPC                         Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                  Desc
                                                          Main Document   Page 39 of 50
Debtor 1        John August Zarro
                _______________________________________________________                                                           2:19-bk-00089-DPC
                                                                                                           Case number (if known)_____________________________________
                First Name   Middle Name             Last Name


  Pa rt 2 : Ex pla in t he Sourc e s of Y our I nc om e

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

      No
     
     ✔ Yes. Fill in the details.


                                                             Debtor 1                                               Debtor 2

                                                             Sources of income             Gross income             Sources of income           Gross income
                                                             Check all that apply.         (before deductions and   Check all that apply.       (before deductions and
                                                                                           exclusions)                                          exclusions)


           From January 1 of current year until
                                                             
                                                             ✔ Wages, commissions,                                   Wages, commissions,
                                                                 bonuses, tips             $________________
                                                                                            911.14                      bonuses, tips           $________________
           the date you filed for bankruptcy:
                                                              Operating a business                                  Operating a business

           For last calendar year:
                                                             
                                                             ✔ Wages, commissions,                                   Wages, commissions,
                                                                 bonuses, tips             $________________
                                                                                            57,347.05                   bonuses, tips           $________________
           (January 1 to December 31, _________)
                                      2018                    Operating a business                                  Operating a business
                                           YYYY



           For the calendar year before that:                
                                                             ✔ Wages, commissions,                                   Wages, commissions,
                                                                 bonuses, tips                                          bonuses, tips
                                                                                           $________________
                                                                                            41,260.00                                           $________________
           (January 1 to December 31, _________)
                                      2017                    Operating a business                                  Operating a business
                                           YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     ✔ No

      Yes. Fill in the details.
                                                  Debtor 1                                                           Debtor 2

                                                  Sources of income              Gross income from                   Sources of income          Gross income from
                                                  Describe below.                each source                         Describe below.            each source
                                                                                 (before deductions and                                         (before deductions and
                                                                                 exclusions)                                                    exclusions)


                                     _________________________                   $________________          _________________________          $________________
 From January 1 of current
 year until the date you             _________________________                   $________________          _________________________          $________________
 filed for bankruptcy:
                                     _________________________                   $_________________         _________________________          $_________________


                                      _________________________ $________________                            _________________________         $________________
For last calendar year:
                                      _________________________ $________________                            _________________________         $________________
(January 1 to
                                      _________________________ $_________________                           _________________________         $_________________
December 31, _________)


For the calendar year                 _________________________ $________________                            _________________________         $________________
before that:                          _________________________ $________________                            _________________________         $________________
(January 1 to                         _________________________ $_________________                           _________________________         $_________________
December 31, _________)




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
           Case 2:19-bk-00089-DPC                         Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                             Desc
                                                          Main Document   Page 40 of 50
Debtor 1     John August Zarro
             _______________________________________________________                                                       2:19-bk-00089-DPC
                                                                                                    Case number (if known)_____________________________________
             First Name          Middle Name           Last Name




 Pa rt 3 :   List Ce rt a in Pa ym e nt s Y ou M a de Be fore Y ou File d for Ba nk rupt c y



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

      No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”
             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

              No. Go to line 7.
              Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                        child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
             * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

     
     ✔ Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              No. Go to line 7.
             
             ✔ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and
                            alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                       Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                       payment


                                                                      397.00
                                                                      _________      $_________________ $__________________
                     Gm Financial
                     ____________________________________                             1,200.00           16,721.00                        Mortgage
                     Creditor’s Name
                                                                                                                                         
                                                                                                                                         ✔ Car
                     Po Box 181145
                     ____________________________________             10/1/2018
                                                                      _________
                     Number     Street                                                                                                    Credit card
                                                                      397.00
                                                                                                                                          Loan repayment
                     ____________________________________             _________
                                                                                                                                          Suppliers or vendors
                     ____________________________________
                     Arlington
                     City
                                       TX       76096
                                               State       ZIP Code
                                                                                                                                          Other ______________


                     ____________________________________             _________      $_________________ $__________________               Mortgage
                     Creditor’s Name
                                                                                                                                          Car
                     ____________________________________             _________                                                           Credit card
                     Number     Street
                                                                                                                                          Loan repayment
                     ____________________________________             _________
                                                                                                                                          Suppliers or vendors
                     ____________________________________                                                                                 Other ______________
                     City                      State       ZIP Code




                     ____________________________________             _________      $_________________ $__________________               Mortgage
                     Creditor’s Name
                                                                                                                                          Car
                     ____________________________________             _________                                                           Credit card
                     Number     Street
                                                                                                                                          Loan repayment
                     ____________________________________             _________
                                                                                                                                          Suppliers or vendors
                     ____________________________________                                                                                 Other _______________
                     City                      State       ZIP Code




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
           Case 2:19-bk-00089-DPC                           Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                    Desc
                                                            Main Document   Page 41 of 50
Debtor 1           John August Zarro
                  _______________________________________________________                            Case number (if known)2:19-bk-00089-DPC
                                                                                                                           _____________________________________
                  First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     ✔ No

      Yes. List all payments to an insider.
                                                                       Dates of      Total amount      Amount you still   Reason for this payment
                                                                       payment       paid              owe


           ____________________________________________              _________      $____________ $____________
           Insider’s Name


           ____________________________________________              _________
           Number        Street


           ____________________________________________              _________

           ____________________________________________
           City                                 State   ZIP Code



           ____________________________________________              _________      $____________ $____________
           Insider’s Name

           ____________________________________________              _________
           Number        Street


           ____________________________________________              _________

           ____________________________________________
           City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     ✔ No

      Yes. List all payments that benefited an insider.
                                                                      Dates of        Total amount     Amount you still   Reason for this payment
                                                                      payment         paid             owe
                                                                                                                          Include creditor’s name

           ____________________________________________              _________      $____________ $____________
           Insider’s Name


           ____________________________________________              _________
           Number        Street


           ____________________________________________              _________

           ____________________________________________
           City                                 State   ZIP Code



                                                                                    $____________ $____________
           ____________________________________________              _________
           Insider’s Name


           ____________________________________________              _________
           Number        Street


           ____________________________________________              _________

           ____________________________________________
           City                                 State   ZIP Code




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 4
           Case 2:19-bk-00089-DPC                            Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                        Desc
                                                             Main Document   Page 42 of 50
Debtor 1          John  August Zarro
                  _______________________________________________________                                                             2:19-bk-00089-DPC
                                                                                                               Case number (if known)_____________________________________
                  First Name            Middle Name            Last Name




  Pa rt 4 :       I de nt ify Le ga l Ac t ions, Re posse ssions, a nd Fore c losure s

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

      No
     
     ✔ Yes. Fill in the details.

                                                                      Nature of the case                 Court or agency                                 Status of the case
                  A SPEEDY CASH CAR TITLE                           ; Date filed: 01/25/2018
    Case title:                                                                                          San Marcos Justice Court
                  LOANS LLC v JOHN ZARRO                                                                ________________________________________
                                                                                                        Court Name
                                                                                                                                                        
                                                                                                                                                        ✔ Pending

                                                                                                                                                         On appeal
                                                                                                        201 E. Chicago St. Suite 103
                                                                                                        ________________________________________
                                                                                                        Number    Street                                 Concluded
                                                                                                         Chandler          AZ     85225
                                                                                                        ________________________________________
                                                                                                        City                  State   ZIP Code
    Case number CC2018-019002
                ________________________
                   Midland Funding v. John Zarro                    ; Date filed: 12/05/2018
                                                                                                         San Marcos Justice Court
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                        
                                                                                                                                                        ✔ Pending
    Case title:
                                                                                                                                                         On appeal
                                                                                                        201 E. Chicago St. Suite 103
                                                                                                        ________________________________________
                                                                                                        Number    Street                                 Concluded
                                                                                                         Chandler          AZ     85225
                                                                                                        ________________________________________
                          CC2018-246968                                                                 City                  State   ZIP Code
    Case number ________________________

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

      No. Go to line 11.
     
     ✔ Yes. Fill in the information below.


                                                                                Describe the property                                  Date           Value of the property
                                                                               Garnished $1574.83 as of 12/31/2018
                   Checkmate Express Corporation                                                                                                        Unknown
                   _________________________________________                                                                           09/24/2017
                                                                                                                                       __________      $______________
                   Creditor’s Name

                    PO Box 35220
                   _________________________________________
                   Number      Street                                           Explain what happened

                                                                                 Property was repossessed.
                   _________________________________________
                                                                                 Property was foreclosed.
                                                                                
                                                                                ✔ Property was garnished.
                   Phoenix                AZ    85069
                   _________________________________________
                   City                               State   ZIP Code           Property was attached, seized, or levied.
                                                                                Describe the property                                  Date            Value of the property


                                                                                                                                                        Unknown
                   Speedy Cash                                                                                                        __________       $______________
                   _________________________________________
                   Creditor’s Name

                    3527 N. Ridge Road
                   _________________________________________
                   Number      Street
                                                                                Explain what happened

                   _________________________________________                     Property was repossessed.
                                                                                 Property was foreclosed.
                   Wichita                KS    67205
                   _________________________________________                    
                                                                                ✔ Property was garnished.
                   City                               State   ZIP Code
                                                                                 Property was attached, seized, or levied.


Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 5
           Case 2:19-bk-00089-DPC                                   Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                       Desc
                                                                    Main Document   Page 43 of 50
Debtor 1          John August Zarro
                  _______________________________________________________                                                       2:19-bk-00089-DPC
                                                                                                         Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     ✔ No

      Yes. Fill in the details.
                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     ✔ No

      Yes

 Pa rt 5 :        List Ce rt a in Gift s a nd Cont ribut ions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     ✔ No

      Yes. Fill in the details for each gift.

             Gifts with a total value of more than $600          Describe the gifts                                            Dates you gave        Value
             per person                                                                                                        the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
           Case 2:19-bk-00089-DPC                             Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                       Desc
                                                              Main Document   Page 44 of 50
Debtor 1            John August Zarro
                    _______________________________________________________                                                            2:19-bk-00089-DPC
                                                                                                                Case number (if known)_____________________________________
                    First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     ✔ No

      Yes. Fill in the details for each gift or contribution.
             Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
             that total more than $600                                                                                                   contributed



           _____________________________________                                                                                         _________           $_____________
           Charity’s Name


           _____________________________________                                                                                         _________           $_____________


           _____________________________________
           Number       Street



           _____________________________________
           City            State    ZIP Code




 Pa rt 6 :          List Ce rt a in Losse s


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     ✔ No
      Yes. Fill in the details.
             Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
             the loss occurred                                                                                                                               lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule A/B: Property.


                                                                                                                                         _________           $_____________




 Pa rt 7 :        List Ce rt a in Pa ym e nt s or T ra nsfe rs

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     
     ✔ No

      Yes. Fill in the details.
                                                                    Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                         transfer was made
             ___________________________________
             Person Who Was Paid

             ___________________________________
             Number       Street                                                                                                         _________           $_____________

             ___________________________________
                                                                                                                                         _________           $_____________
             ___________________________________
             City                       State    ZIP Code


             ____________________________________________
             Email or website address

             ___________________________________
             Person Who Made the Payment, if Not You



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
           Case 2:19-bk-00089-DPC                                Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                              Desc
                                                                 Main Document   Page 45 of 50
Debtor 1          John August Zarro
                  _______________________________________________________                                                           2:19-bk-00089-DPC
                                                                                                             Case number (if known)_____________________________________
                  First Name      Middle Name              Last Name




                                                                   Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                    transfer was made     payment

           ____________________________________
           Person Who Was Paid
                                                                                                                                    _________             $_____________
           ____________________________________
           Number       Street

                                                                                                                                    _________             $_____________
           ____________________________________

           ____________________________________
           City                        State    ZIP Code



           ________________________________________________
           Email or website address

           ___________________________________
           Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     ✔ No

      Yes. Fill in the details.
                                                                   Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                    transfer was made
           ____________________________________
           Person Who Was Paid
                                                                                                                                    _________             $____________
           ____________________________________
           Number        Street

           ____________________________________                                                                                     _________             $____________

           ____________________________________
           City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     ✔ No

      Yes. Fill in the details.
                                                                   Description and value of property         Describe any property or payments received      Date transfer
                                                                   transferred                               or debts paid in exchange                       was made
           ___________________________________
           Person Who Received Transfer

           ___________________________________                                                                                                               _________
           Number       Street

           ___________________________________

           ___________________________________
           City                        State    ZIP Code


           Person’s relationship to you _____________

           ___________________________________
           Person Who Received Transfer
                                                                                                                                                             _________
           ___________________________________
           Number       Street

           ___________________________________

           ___________________________________
           City                        State    ZIP Code

           Person’s relationship to you _____________

Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
           Case 2:19-bk-00089-DPC                               Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                           Desc
                                                                Main Document   Page 46 of 50
Debtor 1           John August Zarro
                   _______________________________________________________                                                          2:19-bk-00089-DPC
                                                                                                             Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     ✔ No

      Yes. Fill in the details.
                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust




 Pa rt 8 : List Ce rt a in Fina nc ia l Ac c ount s, I nst rum e nt s, Sa fe De posit Box e s, a nd St ora ge U nit s

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     ✔ No

      Yes. Fill in the details.
                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___              Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                         Savings
            ____________________________________                                                         Money market
            ____________________________________
                                                                                                         Brokerage
            City                       State    ZIP Code                                                 Other__________

            ____________________________________                       XXXX–___ ___ ___ ___              Checking               _________              $___________
            Name of Financial Institution
                                                                                                         Savings
            ____________________________________
            Number       Street                                                                          Money market
            ____________________________________                                                         Brokerage
            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     ✔ No

      Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                No
            ____________________________________                  _______________________________________
            Name of Financial Institution                         Name
                                                                                                                                                                Yes
            ____________________________________                  _______________________________________
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
           Case 2:19-bk-00089-DPC                               Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                         Desc
                                                                Main Document   Page 47 of 50
Debtor 1            John August Zarro
                    _______________________________________________________                                                                     2:19-bk-00089-DPC
                                                                                                                         Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    
    ✔ No

     Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?


             ___________________________________                     _______________________________________                                                                No
             Name of Storage Facility                                Name                                                                                                   Yes
             ___________________________________                     _______________________________________
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Pa rt 9 :            I de nt ify Prope rt y Y ou H old or Cont rol for Som e one Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     
     ✔ No

      Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Pa rt 1 0 :          Give De t a ils About Environm e nt a l I nform a t ion

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     ✔ No

      Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



           ____________________________________                     _______________________________                                                                    _________
           Name of site                                             Governmental unit

           ____________________________________                     _______________________________
           Number        Street                                     Number    Street

                                                                    _______________________________
           ____________________________________                     City                   State   ZIP Code


           ____________________________________
           City                         State     ZIP Code



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10
           Case 2:19-bk-00089-DPC                                  Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                                  Desc
                                                                   Main Document   Page 48 of 50
Debtor 1           John August Zarro
                   _______________________________________________________                                                                     2:19-bk-00089-DPC
                                                                                                                        Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     ✔ No

      Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                     Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                          _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     ✔ No

      Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                          case

           Case title
                                                                    ________________________________                                                                       Pending
                                                                    Court Name
                                                                                                                                                                           On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                      Concluded

           Case number                                              ________________________________
                                                                    City                        State   ZIP Code



 Pa rt 1 1 :         Give De t a ils About Y our Busine ss or Conne c t ions t o Any Busine ss

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            A member of a limited liability company (LLC) or limited liability partnership (LLP)
            A partner in a partnership
            An officer, director, or managing executive of a corporation
            An owner of at least 5% of the voting or equity securities of a corporation
     
     ✔ No. None of the above applies. Go to Part 12.

      Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______             To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______                 To _______
            ____________________________________
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                     page 11
           Case 2:19-bk-00089-DPC                                Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                                     Desc
                                                                 Main Document   Page 49 of 50
Debtor 1          John August Zarro
                  _______________________________________________________                                                          2:19-bk-00089-DPC
                                                                                                             Case number (if known)_____________________________________
                  First Name      Middle Name              Last Name




                                                                   Describe the nature of the business                     Employer Identification number
                                                                                                                           Do not include Social Security number or ITIN.
           ____________________________________
           Business Name
                                                                                                                           EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
           ____________________________________
           Number        Street
                                                                                                                           Dates business existed

           ____________________________________

                                                                   Name of accountant or bookkeeper
           ____________________________________                                                                            From     _______         To _______
           City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

      No
      Yes. Fill in the details below.
                                                                   Date issued



           ____________________________________                    ____________
           Name                                                    MM / DD / YYYY


           ____________________________________
           Number        Street


           ____________________________________

           ____________________________________
           City                        State    ZIP Code




 Pa rt 1 2 :      Sign Be low


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




          /s/ John August Zarro
           ______________________________________________                        _____________________________
           Signature of Debtor 1                                                    Signature of Debtor 2


           Date ________________
                 01/18/2019                                                         Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      ✔ No
       Yes

      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      ✔ No

       Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                                    Declaration, and Signature (Official Form 119).




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
           Case 2:19-bk-00089-DPC                               Doc 14 Filed 01/18/19 Entered 01/18/19 12:18:00                                          Desc
                                                                Main Document   Page 50 of 50
